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1                       UNITED STATES DISTRICT COURT
2
                                  FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
3

4
     AMY BUMBARGER,                           )
5                                             )
                  Plaintiff                   )
6
                                              ) Case No.:
7          v.                                 )
                                              ) COMPLAINT AND DEMAND FOR
8    CREDIT ONE FINANCIAL d/b/a               ) JURY TRIAL
9
     CREDIT ONE BANK,                         )
                                              )
10                 Defendant                  )
11

12                                      COMPLAINT
13
           AMY BUMBARGER (“Plaintiff”), by and through her attorneys, KIMMEL
14
     & SILVERMAN, P.C., alleges the following against CREDIT ONE FINANCIAL
15

16
     d/b/a CREDIT ONE BANK (“Defendant”):

17                                   INTRODUCTION
18
           1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection
19
     Act (“TCPA”), 47 U.S.C. § 227 et seq.
20

21                             JURISDICTION AND VENUE

22         2.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See
23
     Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
24
           3.     Defendant conducts business in the Commonwealth of Pennsylvania
25

     and as such, personal jurisdiction is established.
                                                1

                                    PLAINTIFF’S COMPLAINT
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1          4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
2
                                           PARTIES
3
           5.      Plaintiff is a natural person residing in Pittsburgh, Pennsylvania
4

5    15236.
6
           6.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
7
           7.      Defendant is a lender with its principal place of business located at
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9
     585 Pilot Road, Las Vegas, Nevada 89119.

10         8.      Defendant is a “person” as that term is defined by 47 U.S.C.
11
     §153(39).
12
           9.      Defendant acted through its agents, employees, officers, members,
13

14   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

15   representatives, and insurers.
16
                                FACTUAL ALLEGATIONS
17
           10.     Plaintiff has a cellular telephone number that she has had for more
18

19   than one year.

20         11.     Plaintiff has only used this number as a cellular telephone number.
21
           12.     The phone number has been assigned to a cellular telephone service
22
     for which Plaintiff incurs a charge for incoming calls.
23

24         13.     Plaintiff never gave permission to Defendant to call her cellular
25
     telephone.

                                                2

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1          14.     Plaintiff never furnished Defendant with her cell number and never
2
     authorized Defendant to call her.
3
           15.     Beginning in or about February 2015, and continuing through May
4

5    2015, Defendant repeatedly called Plaintiff on her cellular telephone.
6
           16.     When contacting Plaintiff on her cellular telephone, Defendant used
7
     an automatic telephone dialing system or automatic or pre-recorded messages.
8

9
           17.     Defendant’s telephone calls were not made for “emergency purposes.”

10         18.     Rather, Defendant stated, “This is Credit One Bank contacting Amy
11
     Bumbarger.”
12
           19.     Initially, at or around the beginning of February 2015, Plaintiff told
13

14   Defendant to stop calling her cellular telephone.

15         20.     Defendant heard Plaintiff’s revocation of consent to call her cellular
16
     telephone.
17
           21.     However, Defendant ignored Plaintiff’s revocation and continued to
18

19   call Plaintiff on her cellular telephone.

20         22.     Most recently, Defendant called Plaintiff on May 20, 2015.
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22                         DEFENDANT VIOLATED THE
                     TELEPHONE CONSUMER PROTECTION ACT
23

24         23.     Plaintiff incorporates the forgoing paragraphs as though the same were
25
     set forth at length herein.

                                                 3

                                     PLAINTIFF’S COMPLAINT
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1          24.     Defendant placed multiple telephone calls to Plaintiff’s cellular phone.
2
           25.     Defendant initiated multiple automated telephone calls to Plaintiff’s
3
     cellular telephone using a prerecorded voice.
4

5          26.     Defendant’s calls to Plaintiff were not made for emergency purposes.
6
           27.     Defendant’s calls to Plaintiff, in and after February 2015, were not
7
     made with Plaintiff’s prior express consent.
8

9
           28.     Defendant’s acts as described above were done with malicious,

10   intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
11
     under the law and with the purpose of harassing Plaintiff.
12
           29.     The acts and/or omissions of Defendant were done unfairly,
13

14   unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,

15   lawful right, legal defense, legal justification or legal excuse.
16
           30.     As a result of the above violations of the TCPA, Plaintiff has suffered
17
     the losses and damages as set forth above entitling Plaintiff to an award of
18

19   statutory, actual and trebles damages.

20                                 PRAYER FOR RELIEF
21
           WHEREFORE, Plaintiff, AMY BUMBARGER, respectfully prays for a
22
     judgment as follows:
23

24                 a.    All actual damages suffered pursuant to 47 U.S.C. §
25
                         227(b)(3)(A);

                                                 4

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1                  b.     Statutory damages of $500.00 per telephone call pursuant to 47
2
                          U.S.C. § 227(b)(3)(B);
3
                   c.     Treble damages of $1,500 per telephone call pursuant to 47
4

5                         U.S.C. §227(b)(3) or alternatively that amount for all calls
6
                          made after Defendant was notified that they were calling the
7
                          wrong person and wrong number;
8

9
                   d.     Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);

10                 e.     Any other relief deemed appropriate by this Honorable Court.
11
                                DEMAND FOR JURY TRIAL
12
            PLEASE TAKE NOTICE that Plaintiff, AMY BUMBARGER, demands a
13

14   jury trial in this case.

15                                           RESPECTFULLY SUBMITTED,
16
       DATED: 07-21-15                       KIMMEL & SILVERMAN, P.C.
17

18
                                            By:/s/ Craig Thor Kimmel
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                                     PLAINTIFF’S COMPLAINT
